    Case 20-04921         Doc 19      Filed 04/23/20 Entered 04/23/20 23:49:16                  Desc Imaged
                                     Certificate of Notice Page 1 of 2
Form ntcdsm

                                  UNITED STATES BANKRUPTCY COURT
                                        Northern District of Illinois
                                             Eastern Division
                                             219 S Dearborn
                                                7th Floor
                                            Chicago, IL 60604


                                              Case No.: 20−04921
                                                   Chapter: 7
                                           Judge: A. Benjamin Goldgar

In Re:
   Michael Billon
   25220 N Abbey Glenn Drive
   Hawthorn Woods, IL 60047
Social Security / Individual Taxpayer ID No.:
   xxx−xx−5723
Employer Tax ID / Other nos.:


                                            NOTICE OF DISMISSAL



You are hereby notified that an Order Dismissing the above case was entered on April 17, 2020




                                                         FOR THE COURT


Dated: April 21, 2020                                    Jeffrey P. Allsteadt , Clerk
                                                         United States Bankruptcy Court
          Case 20-04921            Doc 19       Filed 04/23/20 Entered 04/23/20 23:49:16                         Desc Imaged
                                               Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 20-04921-ABG
Michael Billon                                                                                             Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: lsims                        Page 1 of 1                          Date Rcvd: Apr 21, 2020
                                      Form ID: ntcdsm                    Total Noticed: 17


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 23, 2020.
db             +Michael Billon,    25220 N Abbey Glenn Drive,    Hawthorn Woods, IL 60047-7355
28716188       +American Express National Bank,     c/o Zwicker & Associates, P.C.,
                 80 Minuteman Road, P.O. Box 9043,     Andover, MA 01810-0943
28666380      ++CARTER YOUNG INC,    882 N MAIN STREET,    SUITE 120,   CONYERS GA 30012-4442
               (address filed with court: CARTER-YOUNG INC.,      Po Box 82269,    Conyers, GA 30013-9433)
28666389        David Schneider,    200 S Wacker Dr Ste 600,    Chicago, IL 60606-5849
28666385        Illinois Department of,    Revenue,    Bankruptcy Unit,   Po Box 19035,
                 Springfield, IL 62794-9035
28666384        Illinois Department of,    Employment Security,    Ben. Pay. Control Div,    PO Box 4385,
                 Chicago, IL 60680-4385
28666387        JPMorgan Chase Card,    Po Box 15369,    Wilmington, DE 19850-5369
28666390        WE ENERGIES,    Po Box 1489,   Winterville, NC 28590-1489

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
28666377        EDI: GMACFS.COM Apr 22 2020 05:48:00      ALLY FINANCIAL,   200 Renaissance Ctr # Bo,
                 Detroit, MI 48243-1300
28666378        EDI: AMEREXPR.COM Apr 22 2020 05:48:00      American Express,    Po Box 297871,
                 Ft Lauderdale, FL 33329-7871
28666379       +EDI: CAPONEAUTO.COM Apr 22 2020 05:48:00      CAPITAL ONE AUTO FINANCE,    PO Box 259407,
                 Plano, TX 75025-9407
28687047       +EDI: AISACG.COM Apr 22 2020 05:48:00      Capital One Auto Finance, a division of,
                 AIS Portfolio Services, LP,   4515 N Santa Fe Ave. Dept. APS,     Oklahoma City, OK 73118-7901
28666381        EDI: CITICORP.COM Apr 22 2020 05:48:00      Citibank,   Po Box 6241,
                 Sioux Falls, SD 57117-6241
28666382        EDI: DISCOVER.COM Apr 22 2020 05:48:00      DISCOVER FIN SVCS LLC,    Po Box 15316,
                 Wilmington, DE 19850-5316
28666383       +EDI: FORD.COM Apr 22 2020 05:48:00      Ford Motor Credit Corp.,    PO BOX 542000,
                 Omaha, NE 68154-8000
28666386        EDI: IRS.COM Apr 22 2020 05:48:00      Internal Revenue Service,    Insolvency Division,
                 Po Box 7346,   Philadelphia, PA 19101-7346
28666388        EDI: PRA.COM Apr 22 2020 05:48:00      PORTFOLIO RECOV ASSOC,    150 Corporate Blvd,
                 Norfolk, VA 23502-4952
                                                                                              TOTAL: 9

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 23, 2020                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 20, 2020 at the address(es) listed below:
              Gregory J Jordan   on behalf of Debtor 1 Michael Billon gjordan@jz-llc.com
              Ilene F Goldstein, ESQ   ifgcourt@aol.com, IL35@ecfcbis.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 3
